                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION


UNITED STATES OF AMERICA

vs.                                                     Case No. 3:16-cr-93-J-32JRK

CORRINE BROWN



 ORDER DENYING DEFENDANT’S SECOND MOTION TO CONTINUE SENTENCING

       This case is before the Court on defendant Corrine Brown’s Second Motion to

Continue Sentencing Hearing and Motion to Reconsider/Rehear Order Denying Continuance

(Doc. 209), to which the government responded in opposition (Doc. 211). While Ms. Brown’s

latest motion raises additional issues that she contends warrant a continuance, they are all

matters that can be readily addressed at the sentencing hearing. As part of its consideration

of this motion, the Court has reviewed medical records provided by Ms. Brown under seal.

See Doc. S-212. Nothing in those medical records provides a reason for the Court to

postpone the sentencing. As the Court stated in its earlier Order denying a continuance, if

Ms. Brown can demonstrate at the sentencing hearing that there is some document or

information that she was unable to obtain, the Court will consider whether to allow her

additional time to produce it. Defendant’s Second Motion to Continue Sentencing Hearing

and Motion to Reconsider/Rehear Order Denying Continuance (Doc. 209) is DENIED.

       Corrine Brown’s sentencing hearing will proceed as scheduled on November 16,

2017 at 10:00 a.m. in Courtroom 10D. To give the parties additional time to prepare, the

Court will extend the deadline for filing sentencing memoranda to November 10, 2017 at
5:00 p.m.1

        DONE AND ORDERED at Jacksonville, Florida this 3rd day of November, 2017.




s.
Copies to:
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Defendant




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        November 10, 2017 is a federal holiday and the Clerk’s Office will be closed (but
electronic filing remains available). If there are exhibits or other materials in support of the
sentencing memoranda to be filed under seal, those may be submitted to the Clerk’s Office
for filing on Monday morning, November 13, 2017.

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